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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        NorthernDistrict
                                                    __________   Districtofof__________
                                                                              Ohio

                                                                      )
                                                                      )
                                                                      )
     Liberty Mutual Personal Insurance Company                        )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 3:23-cv-2052
                                                                      )
                                                                      )
                                                                      )
                                                                      )
              Jon Cross and Christina Cross                           )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Christina Cross
                                       308 Pheasant Run Place
                                       Findlay, Ohio 45840




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Rodger L. Eckelberry
                                           Baker & Hostetler LLP
                                           200 South Civic Center Drive, Suite 1200
                                           Columbus, Ohio 43215


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                6$1'<23$&,&+CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
